              Case 2:14-cr-00239-KJM Document 222 Filed 08/13/18 Page 1 of 3


 1   Law Offices of Ron Peters
     RON PETERS (SBN: 45749)
 2
     901 H Street, Suite 611
 3   Sacramento, California 95814
     Telephone: (916) 322-2472
 4   Facsimile: (916) 322-3208
 5
     Email: ronslaw207@sbcglobal.net

 6   Attorney for Defendant
     SHERLYN CHARLES
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                   )
     UNITED STATES OF AMERICA                            Case No.: 2:14-cr-0239−GEB
                                                     )
11                                                   )
                           Plaintiff,                    STIPULATION AND ORDER TO
                                                     )   CONTINUE STATUS CONFERENCE
12                                                   )
     vs.                                             )
13                                                   )
     SHERLYN CHARLES,                                )
14                                                   )
                  Defendant
                                                     )
15

16
            The United States of America, through its counsels of record, Mc Gregory W. Scott,
17

18
     United States Attorney for the Eastern District of California, and Jason Hitt, Assistant United

19   States Attorney, and defendant Sherlyn Charles, through her attorney, Ronald Peters, Esq, hereby
20   stipulate and agree that the sentencing scheduled for September 21, 2018 at 9:00 am shall be
21
     continued to October 26, 2018 at 9:00 am.
22
            Defendant needs additional time to prepare a Memorandum in Aid of Sentencing
23

24   primarily addressing 3553 factors.

25          Accordingly the defendant agrees that a Local Rule T-4 exclusion would be applicable.
26
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
27

28


                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

                                                          1
              Case 2:14-cr-00239-KJM Document 222 Filed 08/13/18 Page 2 of 3


 1   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
 2
     time be excluded under this provision September 21, 2018 through October 26, 2018.
 3
                                                         Respectfully Submitted,
 4                                                       MC GREGORY W. SCOTT
 5
                                                         United States Attorney

 6
     DATE: August 8, 2018                                /s/ Ron Peters for Jason Hitt    _
 7                                                       JASON HITT
 8                                                       Assistant U.S. Attorney

 9
     DATE: August 8, 2018                                /s/Ron Peters                   __
10
                                                         RON PETERS
11                                                       Attorney for Defendant
                                                         Sherlyn Charles
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                              STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

                                                         2
              Case 2:14-cr-00239-KJM Document 222 Filed 08/13/18 Page 3 of 3


 1                                                      ORDER
 2
            The Court, having considered the stipulation of the parties, and good cause appearing
 3
     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
 4

 5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

 6   defense counsel reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
 8
     the ends of justice served by the granting of such continuance outweigh the interests of the public
 9
     and that the time from the date of the stipulation, September 21, 2018, to and including October
10

11   26, 2018.

12           It is so ordered.
13
            Dated: August 10, 2018
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                 STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

                                                            3
